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                                                                    FILED
                                                              U.S. DtSTRICi COURT
                                                                 SAV7UAH DIV.
             IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA   i1116 A 11r, 10 P1112: 32
                         SAVANNAH DIVISION
                                                        CL.
UNITED STATES OF AMERICA                                        SO.DITOFGA

V                                            CASE NO. CR411-200-2

RICHARD ASHLEY LINDNER,

       Defendant.


                               ORDER

       Before the Court is Defendant's Motion for Early

Termination of Probation. (Doc. 474.) Defendant requests

termination because he has exceeded the halfway point in

his supervised release term. (Id.) After careful

consideration of Defendant's motion and the record in this

case, Defendant's request is DENIED.

       SO ORDERED this    f"      day of August 2016.


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                                    WILLIAM T. MOOR , JR.
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
